                            3:18-cv-03205-SLD-JEH # 23       Page 1 of 3
                                                                                                    E-FILED
                                                                       Monday, 20 April, 2020 11:44:46 AM
                                                                            Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVSION


NATHAN COBBS,

               Plaintiff,
       v.                                          3:18-cv-3205-SLD-JEH

CAMERON WATSON, et al.

               Defendants.

                                      DISCOVERY PLAN

       Counsel for Plaintiff, James Gaughan of Riley Safer Holmes & Cancila, LLP and counsel

for Defendants, Hinal Patel of the Office of the Attorney General, having met via conference call

on April 15, 2020 for the purpose of formulating a proposed discovery schedule for consideration

by the Court, hereby submit these agreed deadlines for the Court’s consideration:

            1. Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1): Completed

            2. Amendment of the pleadings: May 15, 2020

            3. Joining additional parties: May 15, 2020

            4. Close of fact discovery: October 15, 2020

            5. Disclosure of Plaintiff’s experts: November 16, 2020

            6. Disclosure of Plaintiff’s expert reports: November 16, 2020

            7. Plaintiff’s experts deposed by: December 15, 2020

            8. Disclosure of Defendants’ experts: January 15, 2021

            9. Disclosure of Defendants’ expert reports: January 15, 2021

            10. Defendants’ experts deposed by: February 15, 2021

            11. Completion of all discovery: February 15, 2021

            12. Dispositive motions: March 15, 2021
                     3:18-cv-03205-SLD-JEH # 23      Page 2 of 3




Plaintiff Nathan Cobbs                     Defendants Matthew Lindsey, Scott Scoggin
                                           and Todd Sheffler
By: /s/ James Gaughan
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                                       2
                            3:18-cv-03205-SLD-JEH # 23     Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I certify that on April 20, 2020, I electronically filed the foregoing DISCOVERY PLAN

with the Clerk of the Court using the CME/CF system which will send notification of such filing

to all counsel of record.

                                            /s/ James P. Gaughan




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